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            Case #603209
            Mag Case Number:

            Name: JAMES ALAN SPRINGER

            SID: 1103396

            Judicial Number: 1857241

            Case Status Date
            : 2/18/2020

            Case Status: AWTG
            HEARING

            Court : CC8

            Location : BND

            Fine Amount : 0.00

            Court Costs : 0.00

            Sentence : 0000000000

            Disposition Date : N/A

            Disposition Status :

            Offense Date : 6/18/2018

            Offense Description : INTERFERE W/DUTIES PUB SERVANT

            Judgment Date : N/A

            Judgment :

            Attorney Name :




                !

                 Bond(s) exist for this case - Click here to view. (/Bond/BondSummary?bp=CC603209&r=392d6702-434e-487e-bbab-4b56e0a352be&cs=603209&




                                                                                                                                   Exhibit
                                                                                                                                       A1

https://search.bexar.org/Case/CaseDetail?r=392d6702-434e-487e-bbab-4b56e0a352be&cs... 7/29/2020
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            Case Events
                                              Currently viewing all 62 records

             Date           Description

             7/24/2020     INTAKE DA 24072900

             2/18/2020     HEARING DATE SET

             2/18/2020     AWTG HEARING

             12/16/2019    HEARING DATE SET

             12/16/2019    AWTG HEARING

             9/30/2019     HEARING DATE SET

             9/30/2019     AWTG HEARING

             8/16/2019     HEARING DATE SET

             8/16/2019     AWTG HEARING

             6/17/2019     HEARING DATE SET

             6/17/2019     AWTG HEARING

             6/4/2019      PRE-TRIAL CONFRNCE

             6/4/2019      AWTG HEARING

             4/12/2019     FILE RECD IN COURT CC8

             4/10/2019     CNTY COURT TRANSFR CC8

             4/10/2019     COURT TRNSFR ORDER

             3/25/2019     PRE-TRIAL CONFRNCE

             3/25/2019     AWTG HEARING

             3/23/2019     FILE RECD IN COURT CC1

             3/1/2019      FILE RECD IN COURT CC1

             2/28/2019     PRE-TRIAL CONFRNCE

             2/28/2019     AWTG HEARING

             1/22/2019     ARRAIGNMENT SET

             1/4/2019      CC RECEIVED BOND # 1810851

             12/28/2018    WARRANT RETURNED 1672576

             12/28/2018    FILE RECD IN COURT CC1

             12/27/2018    BOOKED B20186127401

             12/27/2018    WARRANT EXECUTED 1672576

             12/27/2018    DEF. MAGISTRATED

             12/27/2018    BOND MADE 800.00 20 1810851

             12/27/2018    SID 0438294 B20186127401 1810851

             12/27/2018    REL'D ON BOND

             12/27/2018    RELEASED FROM JAIL

             12/27/2018    Offender record se nt to VINE1857241001

             12/27/2018    Charge record sent to VINE 1857241001

             12/27/2018    FILE RECD IN COURT CRCENTRAL

             12/27/2018    ER2 RECV FROM DPS

             12/11/2018    FILE RECD IN COURT CC1

             12/10/2018    COMPLAINT REC'D CF

             12/10/2018    CNTY COURT ASSIGND CC1 603209

             12/10/2018    WARRANT ISSUED 0000000

             12/10/2018    COUNTY COURT FUG

             12/10/2018    WARRANT RECEIVED 1672576

             12/10/2018    FILE SENT TO COURT CC1

             12/7/2018     PRES WALFR TO ADM

             12/7/2018     ADM WALFR TO CF WARRANT

             12/7/2018     BOND SET 800.00 0000000

             12/6/2018     WALFR REC'D ADM

             12/6/2018     ADM WALFR TO PRES CC6

             11/5/2018     PRES WALFR TO ADM

             11/5/2018     ADM WALFR TO DA'S REJECTED BY JUDGE




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             Date           Description

             11/5/2018     PLEASE SEE JUDGE ABOUT PROBABLE CAUSE

             11/2/2018     RECORD UNSEALED

             11/2/2018     WALFR REC'D ADM

             11/2/2018     ADM WALFR TO PRES CC2

             10/23/2018    AWTG FILING

             10/18/2018    DSMD-FURTH INVEST

             10/18/2018    CASE CLOSED

             7/10/2018     REPORT FILED

             7/10/2018     RECORD SEALED

             7/10/2018     AWTG FILING

             6/18/2018     MB 530009 INTERFER E W/DUTIES PUB SERVA




https://search.bexar.org/Case/CaseDetail?r=392d6702-434e-487e-bbab-4b56e0a352be&cs... 7/29/2020
